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                     EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
   PRODUCTS LIABILITY                                                                   20-MD-2924
   LITIGATION
                                                            JUDGE ROBIN L ROSENBERG
                                                    MAGISTRATE JUDGE BRUCE REINHART

   __________________________________/

   THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
   __________________________________
   (Plaintiff Name(s))

                                   SHORT-FORM COMPLAINT

          The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

   Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

   Master Personal Injury Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Lability

   Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint as permitted

   by Pretrial Order No. 31.

           Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

   of Actions specific to this case. Where certain claims require additional pleading or case specific

   facts and individual information, Plaintiff(s) shall add and include them herein.

          Plaintiff(s), by counsel, allege as follows:

                         I.      PARTIES, JURISDICTION, AND VENUE

      A. PLAINTIFF(S)

          1.      Plaintiff(s) ____________________ (“Plaintiff(s)”) brings this action (check the
                  applicable designation):

                                 On behalf of [himself/herself];

                                 In representative capacity as the __________________, on behalf
                                 of     the     injured    party,    (Injured  Party’s   Name)
                                 ___________________.



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          2.      Injured Party is currently a resident and citizen of (City,                    State)
                  _________________________ and claims damages as set forth below.

                                                        —OR—

                  Decedent died on (Month, Day, Year) _______________. At the time of
                  Decedent’s death, Decedent was a resident and citizen of (City, State)
                  _________________________.

   If any party claims loss of consortium,

          3.      _________________ (“Consortium Plaintiff”) alleges damages for loss of
                  consortium.

          4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                  citizen and resident of (City, State) _________________________.

          5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                  _________________________.


      B. DEFENDANT(S)


          6.      Plaintiff(s) name(s) the following Defendants from the Master Personal Injury
                  Complaint in this action:

                     a. Brand Manufacturers:


                     b. Generic Manufacturers:


                     c. Distributors:


                     d. Retailers:


                     e. Repackagers:


                     f. Others Not Named in the MPIC:




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      C. JURISDICTION AND VENUE


         7.    Identify the Federal District Court in which Plaintiff(s) would have filed this action
               in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
               Court to which their original action was removed]:


         8.    Jurisdiction is proper upon diversity of citizenship.



                                     II.     PRODUCT USE


         9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                               By prescription

                               Over the counter

         10.   The Injured Party used Zantac and/or generic ranitidine from approximately
               (month, year) _______________ to _______________.


                                  III.     PHYSICAL INJURY


         11.   As a result of the Injured Party’s use of the medications specified above, [he/she]
               was diagnosed with the following specific type of cancer (check all that apply):

    Check all Cancer Type                                              Approximate       Date      of
    that                                                               Diagnosis
    apply
              BLADDER CANCER
              BRAIN CANCER
              BREAST CANCER
              COLORECTAL CANCER
              ESOPHAGEAL/THROAT/NASAL CANCER
              INTESTINAL CANCER
              KIDNEY CANCER
              LIVER CANCER
              LUNG CANCER
              OVARIAN CANCER
              PANCREATIC CANCER
              PROSTATE CANCER
              STOMACH CANCER




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               TESTICULAR CANCER
               THYROID CANCER
               UTERINE CANCER
               OTHER CANCER:

               DEATH (CAUSED BY CANCER)


         12.    Defendants, by their actions or inactions, proximately caused the injuries to
                Plaintiff(s).


                           IV.    CAUSES OF ACTION ASSERTED

         13.    The following Causes of Action asserted in the Master Personal Injury Complaint
                are asserted against the specified defendants in each class of Defendants
                enumerated therein, and the allegations with regard thereto are adopted in this Short
                Form Complaint by reference.

      Check if   COUNT Cause of Action
      Applicable
                   I   STRICT PRODUCTS LIABILITY – FAILURE TO WARN

                     II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT

                     III     STRICT PRODUCTS LIABILITY – MANUFACTURING
                             DEFECT

                     IV      NEGLIGENCE – FAILURE TO WARN

                     V       NEGLIGENT PRODUCT DESIGN

                     VI      NEGLIGENT MANUFACTURING

                    VII      GENERAL NEGLIGENCE

                    VIII     NEGLIGENT MISREPRESENTATION

                     IX      BREACH OF EXPRESS WARRANTIES

                     X       BREACH OF IMPLIED WARRANTIES

                     XI      VIOLATION OF CONSUMER PROTECTION AND
                             DECEPTIVE TRADE PRACTICES LAWS and specify the state’s
                             statute below:
                             _______________________




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      Check if   COUNT Cause of Action
      Applicable

                       XII      UNJUST ENRICHMENT

                       XIII     LOSS OF CONSORTIUM

                       XIV      SURVIVAL ACTION

                       XV       WRONGFUL DEATH

                       XVI      OTHER:

                       XVII     OTHER:


                  If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):




                                              V.     JURY DEMAND


          14.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



                                        VI.        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

   inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

   action, jointly and severally to the full extent available in law or equity, as requested in the Master

   Personal Injury Complaint.



   [Signature Block]

   Counsel for Plaintiff(s)




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